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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


 J OE HO LC OM BE, et. al,                 §        NO. 5: 18-C V-00555 -XR
                                           §
 Plaintiffs                                §   Consolidated with:
                                           §   5:18-cv-00712-XR (Vidal)
                                           §   5:18-cv-00881-XR (Uhl)
 vs.                                       §   5:18-cv-00944-XR (Ramsey)
                                           §   5:18-cv-00949-XR (McNulty)
 UN ITED S TATES O F                       §   5:18-cv-00951-XR (Wall)
 AM ER IC A,                               §   5:18-cv-01151-XR (Amador)
                                           §   5:19-cv-00184-XR (Brown)
 Defendant                                 §   5:19-cv-00289-XR (Ward)
                                           §   5:19-cv-00506-XR (Workman)
                                           §   5:19-cv-00678-XR (Colbath)
                                           §   5:19-cv-00691-XR (Braden)
                                           §   5:19-cv-00706-XR (Lookingbill)
                                           §   5:19-cv-00714-XR (Solis)
                                           §   5:19-cv-00715-XR (McKenzie)
                                           §   5:19-cv-00805-XR (Curnow)
                                           §   5:19-cv-00705-XR (Workman)
                                           §   5:19-cv-00806-XR (Macias)


                                    DISCOVERY ORDER

       WHEREAS, the United States seeks to reduce the time, expense and other burdens of

discovery of certain hard copy documents, electronically stored information (“ESI”), and

privileged materials as described further below; and to better define the scope of their

obligations with respect to preserving and producing such information and materials;

       IT IS ORDERED, ADJUDGED AND DECREED as follows:

A.      Definitions

         1.   The term “Document,” as used herein, includes all items listed in the Federal
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Rules of Civil Procedure 34(a)(1)(A) and (B), including any ESI or tangible thing, as well as

any documents that will be discoverable but for the application of a privilege or protection such

as the attorney work product protection, the attorney-client privilege or other governmental

privileges. A draft or non-identical copy is a separate document within the meaning of this term

and includes a preliminary version of a document that has been shared by the author with

another person (by email, print, or otherwise).

        2.     The term “Documents Produced,” as used herein, includes all documents made

available for review or produced in any manner during this litigation.

        3.     The terms “Party” or “Parties,” as used herein, means the Parties to this

consolidated litigation, including their employees and agents.

        4.     The term “Producing Party,” as used herein, means the Party producing

documents or ESI.

        5.     The term “Receiving Party,” as used herein, means the Party receiving

documents or ESI.

B.      Preservation Requirements

        6.     The Parties shall take reasonable steps to preserve potentially relevant

documents that are in their possession, custody or control on the date of this Order, or that

comes into their possession, custody or control after the date of this Order.

        7.     With respect to potentially relevant documents, the Parties need only preserve one

copy of each non-identical document, but shall retain any existing information related to the

custodians of any duplicates that are not preserved for production.

        8.     The Parties need retain only one copy of a potentially relevant electronic

message sent to multiple Parties.


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         9.      By preserving potentially relevant documents or ESI, the Parties are not

conceding that such documents are discoverable in this matter, nor are the Parties waiving any

claim of privilege.

        10.      The Parties need not preserve the following categories of ESI for this litigation:

                 a.     “deleted,” “slack,” “fragmented,” or “unallocated” data on hard drives;

                 b.     random access memory (RAM) or other ephemeral data;

                 c.     on-line access data such as temporary internet files, history, cache,

cookies, etc.;

                 d.     data in metadata fields that are frequently updated automatically, such

as last-opened dates;

                 e.     backup data that is substantially duplicative of data that is more

accessible elsewhere;

                 f.     data stored on photocopiers, scanners, and fax machines; and

                 g.     other forms of ESI whose preservation requires extraordinary

affirmative measures that are not utilized in the ordinary course of business.

        11.      Nothing in this Order prevents any Party from asserting, in accordance with the

Federal Rules of Civil Procedure, that other categories of ESI are not reasonably accessible

within the meaning of Rule 26(b)(2)(B).

        12.      Nothing in this Order shall affect any other obligations of the Parties to preserve

documents or information for other purposes, such as pursuant to court order, administrative

order, statute, or in response to other anticipated litigation.

C.      Format of Production: See Appendix A.




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D.     Other Production Issues

       13.     Documents considered “publically available,” such as published articles or

postings to public web sites, will not be produced, but the location of such “publically available”

information will be identified by the Producing Party to the Receiving Party with reasonable

particularity as to allow the Receiving Party the ability to retrieve the document.

       14.     Original Documents.

      The Parties will retain the original hard-copy documents and original ESI documents.

Subject to preservation of appropriate privileges and other protections, the Parties will consider

reasonable requests, after any necessary meet and confer, to inspect the original hard copy

document and source ESI documents of specific documents or groups of documents.

       15.     Translation of Produced Materials. For any foreign-language documents

responsive to document requests that a Party translates or translated into the English language

for its own purposes, the Producing Party shall produce the translation of the document with

the document except to the extent such translation is protected by attorney-client privilege, work

product privilege, governmental privileges, or all other privileges that may be lawfully asserted

without limitation.

       16.     Costs of Document Production.

       Unless this Court orders otherwise, each Party shall bear the costs of producing its own

documents.

E.     Use of Documents During Litigation.

       17.     Notwithstanding any other provision of this Order, the Parties may take any of

the following actions with respect to documents and ESI.

               a.      Parties may, to the extent necessary to carry out their ordinary duties,
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edit non-final documents that do not meet the definition of “draft” in Paragraph 1. However,

the Parties shall preserve draft documents for discovery.

                 b.     The Parties may move unfiled documents or ESI into files or folders that

adhere to an organizational scheme that was created before the complaint was filed in this

matter. Nothing in this paragraph prevents the Parties from implementing an organizational

scheme that applies only to documents or ESI created after the complaint was filed in this

matter.

                 c.     The Parties may delete, overwrite, or wipe ESI from devices that are

being replaced, upgraded, reimaged, disposed of, or returned at the end of a lease, provided that

the potentially relevant ESI is first copied to a new location in a manner that preserves the data,

including metadata (to the extent it exists) that will be produced pursuant to Section C of this

Order.

                 d.     The Parties may copy data from one device to another, or from one

location to another, provided that a copy of the ESI remains accessible and unaltered in the first

location or the new copy is created in a manner that preserves the data, including metadata (to

the extent it exists) that will be produced pursuant to Section C of this Order.

                 e.     The Parties may take any of the following actions with respect to data in

a database provided that it is part of the routine use of the database: input additional data; access

data; update the software running the database; append new data; and modify existing data.

                 f.     The Parties may compress, decompress, encrypt, or decrypt data subject

to preservation in this matter provided that any data losses during such processes do not result

in the loss of metadata (to the extent it existed) required to be produced under this Order or

significantly degrade the quality of the data.


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F.     Meet and Confer Requirements.

       18.     Discovery Disputes.

       Pursuant to Local Rule CV.7, before filing any motion with the Court regarding

electronic discovery or evidence, the Parties will meet and confer in a good faith attempt to

resolve such disputes.

G.     Expert Discovery.

       19.     Each Party shall not pursue through discovery, trial subpoena or otherwise:

               a. Notes taken by a witness required to provide a report under Fed.

R. Civ. P. 26(a)(2)(B);

               b.   Communications between a witness required to provide a report under Fed.

R. Civ. P. 26(a)(2)(B) and a Party’s representative—including, but not limited to, another

witness required to provide a report under Fed. R. Civ. P. 26(a)(2)(B)—regardless of the form

of the communications, except to the extent that the communications:

                     1.       Relate to compensation for an expert’s study or testimony;

                     2.       Identify facts or data that a Party provided and that the expert

considered in forming the opinions to be expressed; or

                     3.       Identify assumptions that a Party provided and that the expert

relied upon in forming the opinions to be expressed.

       20.      The Party seeking discovery from an expert, who has been identified by another

Party as an expert whose opinions may be presented a trial, shall be responsible for paying the

reasonable fees for the time the expert spends testifying in deposition after the expert’s report

has been provided. The Party seeking such discovery shall not be responsible for any fees or

costs associated with the time spent preparing for the deposition, traveling to and/or from the


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deposition, or reviewing the transcript from the deposition.

H.     Preparation of Privilege Log.

       21.     Any document, or category of documents falling within the scope of any request

for production or subpoena that is withheld on the basis of a claim of attorney-client privilege,

work product, or any other claim of privilege or immunity from discovery is to be identified by

the Producing Party in a privilege log, which the Producing Party shall produce in an electronic

format that allows text searching and organization of data.

       22.     For documents produced by the United States originating with the FBI, any

document, or portion thereof, falling within the scope of any request for production or subpoena

that is withheld on the basis of Confidential Information, a claim of attorney-client privilege,

work product, or any other claim of privilege or immunity from discovery will be redacted on

the document and a redaction code sheet will be provided with the production as a guide to each

coded redaction. Such coded redactions allow for as much of the document as possible to be

disclosed while at the same time providing the author, date, and type of document, if available,

and reason for each redaction on each page. When a document contains classified or law

enforcement privileged information, for instance, that requires redaction in full, that page will

be redacted with the required code.

        23.    The Producing Party shall produce privilege logs no later than sixty (60)

calendar days after withholding documents pursuant to a claim of privilege. The Parties may

stipulate to extend the time period. For each document, or category of documents meeting

certain criteria, for which a Producing Party asserts that a privilege applies, the Producing Party

must include in the privilege log the information required by Federal Rule of Civil Procedure

26(b)(5), including the following:


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                 a.     Bates range of the document withheld as privileged;

                 b.     assertion of the ground(s) alleged for withholding such document;

                 c.     the date, if available, of the document or communication;

                 d.     the identity of its author and signatories and to whom it was sent, if

available; and

                 e.     a description of the withheld document, communication or tangible thing

in a manner that, without revealing information claimed privileged, will enable a Party to assess

the validity or efficacy of the privilege claim.

       24.       Notwithstanding a claim of privilege, any purportedly privileged document

containing non-privileged matter must be: (i) produced with the purportedly privileged portion

redacted, with the redacted portion indicated on the document itself, and (ii) listed on the

privilege log.

       25.       The obligation to provide a log of privileged or work product materials pursuant

to Rule 26(b)(5)(A) presumptively shall not apply to the following privileged or work product

materials created on or after November 6, 2017:

                 a.     Communications exclusively between a Party and its counsel of record,

to include communications between Department of Justice counsel and federal agency counsel,

and communications between federal agency counsel;

                 b.     Work product created by counsel of record, federal agency counsel, or

by an agent of counsel other than a Party or an employee of a Party; or

                 c.     Internal communications within (a) a law firm, (b) a legal assistance

organization, or (c) a governmental law office.

       26.       Threaded e-mails. An e-mail shall be treated as a single document regardless of


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the number of threaded e-mails contained within the message body. The privilege log for an e-

mail withheld under a claim of privilege, to the extent any is required, shall identify the author,

recipient(s), subject, dates and times based on the metadata (to the extent it exists), from the top

level message, and shall not include data from any e-mail embedded in the message body. An

e-mail thread contained within a single document need only be recorded once on the Producing

Party’s privilege log, even if a privilege is asserted over multiple portions of the thread.

However, if an e-mail contains both privileged and non-privileged communications, the non--

privileged, responsive communications must be produced. This requirement should be satisfied

by producing the original of the threaded, non-privileged e-mail, but if the original is not

available, it may be satisfied by producing a redacted version of the privileged e-mail.

       27.     Privileged documents shall be withheld from production; their Bates numbers

may be listed as gaps on an exception report sent with production of that Bates range.

I.     Deliberate Withholding of Privileged or Protected Documents or ESI

       28.     A Party may challenge the assertion of any privilege or other protection for any

documents or ESI originally withheld from production, or asserted as an objection to any

interrogatory or interposed during any deposition or hearing. A Party challenging an assertion

of any privilege or protection for any document or ESI shall provide notice to the Party claiming

the privilege or protection within 60 (sixty) calendar days after receipt of the privilege log or

30 (thirty) calendar days after an objection to any interrogatory or interposed during any

deposition or hearing. The Parties may stipulate to extend this time period.

       29.     The notice required by Paragraph 28 is to be served upon all counsel of record

for all Parties, and shall contain information sufficient to: 1) identify the document (by Bates

number, if applicable, or by identifying information as necessary to locate the document within


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the materials produced), interrogatory, or deposition at issue; 2) identify the privilege or

protection asserted (the “privilege claim”); 3) the date the document was produced; and 4)

provide the basis for the challenge of the privilege or protection.

       30.     If the Parties are not able to come to an agreement about the privilege or

protection assertion, the Party challenging the privilege or protection assertion may file a

motion under seal to the Court pursuant to Local Rule CV-5.2, for a determination of the

privilege or protection claim and the Party in possession of the information must preserve the

information until the privilege or protection claim is resolved. See Fed. R. Civ. P. 26 (b)(5)(B).

Any such motion must be filed within 30 (thirty) calendar days from the receipt of the notice

required by Paragraph 28. If the Party challenging the privilege or protection assertion fails to

file such a motion within the 30 (thirty) day period, it waives any right to dispute the privilege

or protection with respect to that document or ESI unless good cause exists for the failure to

file such a motion (for example, evidence not available at the time privilege or protection was

asserted demonstrates the document was not privileged or protected.) The Parties may stipulate

to extend the 30 (thirty) day time period. The burden of proving the privilege or protection

claim remains with the Party claiming the privilege or protection.

       31.     Pending resolution of the Court’s determination, the Parties shall both preserve

and refrain from using the challenged information for any purpose and shall not disclose it to

any person other than those required by law to be served with a copy of the sealed motion.

       32.     This Order does not preclude a Party from voluntarily waiving any claims of

privilege.

J.     Enforcement and Modification of This Order

       33.     If any Party has cause to believe that a violation of this Order has occurred or is


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about to occur, it shall have the right to petition this Court for appropriate relief.

        34.     For good cause shown, any Party may seek modification of this Order. No part

of the provisions of this Order may be modified except in accordance with this Order. The

provisions of this Order, and any subsequent amendments thereto and modifications thereof

shall continue to be binding after the termination of this case unless otherwise ordered.

        35.     Any Party seeking modification of this Order must first provide counsel for all

Parties with at least ten (10) calendar days written notice prior to filing any such motion with

the Court.    During that 10-day period, the Parties shall attempt to agree to a proposed

modification. If such agreement is reached, the Parties shall execute a stipulation setting out

such modification, which will then be presented to the Court for approval. If no agreement is

reached within the 10-day period, the Party seeking the modification may apply to the Court

for such relief upon notice to all Parties. The Court shall provide an opportunity for the Parties

to present their respective views to the Court before approving a stipulated request for

modification or before granting a motion seeking modification.

        36.     Nothing in this Order shall be construed to compel the United States to produce

information that, under law or agreement, it is prohibited from producing, including, inter alia,

information protected from compelled disclosure by a Certificate of Confidentiality or an

Assurance of Confidentiality issued pursuant to the Public Health Service Act, 42 U.S.C. §§

241(d), 242m(d), and/or CIPSEA; confidential substance abuse information protected by 42

U.S.C. §§ 290aa(n) or 290dd-2; visa application material protected by 8 U.S.C. § 1202(f);

information subject to the confidentiality provision of section 12(c) of the Export

Administration Act of 1979, as amended 50 U.S.C. app 2411(c); information protected by 38

U.S.C. § 5705; or information protected by Federal Rule of Criminal Procedure 6(e). Nothing


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in this Order shall be read to enhance or negate any argument that any such laws, provisions,

or regulations apply to any particular document.

         37.   Nothing in this Order shall prevent or in any way limit or impair the right of the

United States to disclose to any of its agencies or departments, or any division or office of any

such agency or department, information or materials provided in this Action that relate to a

potential violation of law or regulation, or relating to any matter within that agency’s

jurisdiction. Nor shall anything contained in this Order prevent or in any way limit or impair

the use of any information provided in this Action by an agency in any lawfully permitted

proceeding relating to a potential violation of law or regulation, or relating to any matter

within that agency’s jurisdiction. Disclosure of information or materials provided in this

Action is permitted within the meaning of this paragraph and in a manner consistent with the

terms of this Order and any Protective Orders entered in this Action pursuant to Federal Rules

of Civil Procedure Rule 26(c).

         38.   Nothing in this Order supersedes existing independent statutory, law enforcement,

national security, or regulatory obligations imposed on a Party, and this Order does not prohibit

or absolve the Parties from complying with such other obligations.


IT IS SO ORDERED.

Dated:



                                               ______________________________
                                               JUDGE XAVIER RODRIGUEZ
                                               UNITED STATES DISTRICT JUDGE




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